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Date: 11/21/18


Re: Proft et al v. Madigan et al
USDC Case Number: 1:18-cv-04947
Judge: Virginia M. Kendall


The attached copy of the Notice of Appeal is being mailed to all parties pursuant to F.R.A.P.3(d).
Circuit Rule 10 provides that the entire record be electronically accessible to the Court of Appeals.
Counsel must ensure that Trial Exhibits to be included in the record which are not listed on the
District Court docket and/or in the possession of the District Court Clerk are furnished to the Clerk
on or before 12/4/18                         , together with an exhibit list.

F.R.A.P. 10(b) requires that within fourteen (14) days of the filing of the Notice of Appeal, the
appellant order a transcript of such parts of the proceedings not already on file which he/she deems
necessary for the record. Should appellant order less than the entire transcript, he/she is required
to file and serve on appellee a description of the parts he/she intends to order. Under such
circumstances, appellee has fourteen (14) days after service within which to order any additional
parts of the transcript.

In the event it becomes necessary to supplement, modify, correct, or strike documents that are to
be considered as part of the record on appeal, a court order must be issued and sent to the Court of
Appeals.
                                             Sincerely yours,
                                             Thomas G. Bruton, Clerk
                                             By: /s/ T. Torres
                                                  Deputy Clerk



Enclosure

Rev. 06/20/2018
